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 Jury Evidence Recording System (JERS)




How to Submit Electronic Exhibit Files
Electronic evidence files should be provided to the Office of the Clerk of Court on a USB drive, DVD or CD a minimum
of five (5) calendar days prior to the start of trial.
_________________________________________________________________________________

Exhibit Formatting Instructions for JERS Submission
Exhibit files can be formatted in a manner that permits them to be batch imported into the JERS system. The District
of Nevada uses the Indexed File Method. This requires counsel to submit their trial exhibits:

                  On a single storage device such as a CD, DVD or USB drive;
                  With a text delimited Index file named Exhibits.txt. The Exhibits.txt file must be called
                  EXACTLY that - Exhibits.txt. The Exhibits.txt file must contain the following “pipe” delimited
                  layout: Exhibit Number|Exhibit Description|Ex            File Name.

                  •        Do NOT use special characters for the “pipe”. On a standard keyboard, the “pipe” is
                          generated by pressing shift and the key above the enter key at the same time.
                  •        The text delimited Exhibits.txt must be on the same level as all exhibits (meaning exhibits
                          cannot be put into separate folders on the disk). There also should be no spaces between
                          the categories and “pipe”, no labels, no bolding, no             between lines, etc.
                          (CLICK HERE FOR AN EXAMPLE EXHIBITS.TXT FILE)
 _________________________________________________________________

Requirements for Exhibit File Types
All electronic evidence should be provided using the following formats:
          •        Documents and Photographs: .pdf, .jpg, .bmp, .tif, .gif
          •        Video and Audio Recordings: .avi, .wmv, .mpg, .mp3, .mp4, .wma, .wav

Regarding the file size of the electronic evidence, individual files should not exceed 500MB. If possible, exhibits
approaching or exceeding this size limit should be separated into multiple files. Note, PDF documents can often be
reduced significantly in size by using tools such as Adobe's "Reduce File Size" feature. Images can be significantly
reduced in file size by lowering its resolution or dimensions, usually with minimal affect to viewing quality.
____________________________________________________________________________________________

         Keep file names short and simple                           We suggest simply the Exhibit number with the
         proper extension for file type. A maximum of 50 characters will be allowed for the file name – anything
         larger will not work.

         Do NOT use parenthesis in your exhibit numbers. If you would normally call an exhibit 1(a), name it
         1-a. If you have a two part exhibit name like 1.18(2), name it 1-18.2. This is the only way that JERS can read
         it properly – dash to indicate first sub-part and . to indicate any additional subpart.

         If you are an attorney representing a party in a multi-party case where there are more than one party per
         side proceeding to trial, use the party name as the first part of the exhibit number followed by
         the additional identifiers. Example: Smith-1, Smith-2.1, Jones-1, Jones-2.1, RedTrucking-A,
         RedTrucking-B, BlueTrucking-A, BlueTrucking-B.1
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                       Exhibits.txt for MAC users
#1 – Create your exhibit list in a Word document using a 3-column table. Save this
document to submit as your exhibit list to file with the Court.

      ex:
            EXHIBIT                 DESCRIPTION            FILENAME
            A                       Aerial Map             Ex.A.pdf
            B                       Photo of scene         Ex.B.pdf
            C                       Photo of vehicle       Ex.C.pdf

#2 – Copy your list into another Word document. On this copy, “Click” or “Select
all” on the table. Then go to the “Table” on the tool bar. When it drops down,
select “Convert”. Click on “Table to Text”.

#3 – When you click on “Table to Text”, it will ask you how you want to separate
the text. In the “Other” section – put in a pipe (“|”).

#4 – When your table converts, it should look like this:

      EXHIBIT|DESCRIPTION|FILENAME
      A|Aerial Map|Ex.A.pdf
      B|Photo of scene|Ex.B.pdf
      C|Photo of vehicle|Ex.C.pdf

#5 – Save as “Exhibits.txt”.

#6 – Open “Exhibits.txt” in the TextEdit program and re-save (keeping the name
“Exhibits.txt”).
